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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

 ZINKENG ATEMAFAC                               CASE NO. 6:20-CV-01697 SEC P

 VERSUS                                         JUDGE ROBERT R. SUMMERHAYS

 CHAD WOLF                                      MAGISTRATE JUDGE WHITEHURST

                     REPORT AND RECOMMENDATION

       Before the Court is a petition for writ of habeas corpus (rec. doc. 1) filed by

 pro se petitioner Zinkeng Atemafac. Petitioner is an immigration detainee in the

 custody of the Department of Homeland Security / U.S. Immigration and Customs

 Enforcement (“DHS/ICE”). At the time of her filing, she was detained at the South

 Louisiana ICE Processing Center in Basile, Louisiana. This matter has been referred

 to the undersigned for review, report, and recommendation in accordance with the

 provisions of 28 U.S.C. § 636 and the standing orders of this court.

       For the reasons stated below, IT IS RECOMMENDED the Petition for Writ

 of Habeas Corpus (rec. doc. 1) be DENIED and DISMISSED WITHOUT

 PREJUDICE, that Petitioner’s conditions of confinement claim be DISMISSED

 WITH PREJUDICE, and all pending motions be DENIED as MOOT.




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    I.       Background

             A. Status of Immigration Detention

          Zinkeng Atemafac, a twenty-five-year-old native and citizen of Cameroon, has

 been in ICE custody since January 31, 2020, pending removal proceedings. She

 complains that, at the time of filing, she had been in custody for over twelve months

 without a hearing to determine whether her incarceration is warranted based on

 danger or flight risk.

    II.      Law & Analysis

          Petitioner asks this Court to issue a writ of habeas corpus, finding that her

 detention is not justified because the government has not determined whether her

 incarceration is warranted based on danger or flight risk, and to order her release

 with appropriate conditions of supervision. In the alternative, she seeks to be

 released within twenty days unless the government schedules a hearing in front of

 an immigration judge where to continue detention, it must be proven that Petitioner

 presents a risk of flight or danger and, if the government cannot meets its burden, an

 immigration judge orders her release. She also seeks immediate release, as she is

 highly vulnerable to serious injury or death should she contract COVID-19 again, as

 she tested positive for the virus in November 2020.




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           A. Petitioner’s detention is constitutionally permissible.

       The Supreme Court has held that an alien does not have a constitutional right

 to be released from detention during the limited period in which removal

 proceedings are pending. Demore v. Kim, 538 U.S. 510, 531 (2003). The right to

 release, therefore, is a right granted and controlled by statute. See generally Carlson

 v. Landon, 342 U.S. 524, 532-36 (1952). Specifically, when and under what

 circumstances an alien may be released while removal proceedings are pending is

 governed by 8 U.S.C. § 1226(a).

       Section 1226 generally “governs the process of arresting and detaining ...

 aliens pending their removal.” Jennings v. Rodriguez, 138 U.S. 830, 837 (2018).

 Section 1226(a) provides that any “alien may be arrested and detained pending a

 decision on whether the alien is to be removed from the United States....” Misquitta

 v. Warden Pine Prairie ICE Processing Ctr., 353 F. Supp. 3d 518, 521 (W.D. La.

 2018) (citing 8 U.S.C. § 1226(a)) (emphasis in original). Detention under 1226(a)

 is generally referred to as “discretionary detention.” Id.

       Aliens like Petitioner who are detained under § 1226(a) receive numerous

 procedural protections. Although § 1226(a) does not grant Petitioner an automatic

 right to release while her immigration proceedings are pending, see Reno v. Flores,

 507 U.S. 292, 306 (1993), it grants her a number of meaningful opportunities to raise

 arguments in support of her release. Under § 1226(a), an alien is detained “pending


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 a decision on whether the alien is to be removed from the United States.” 8 U.S.C.

 § 1226(a). “[P]ending such decision,” the Department of Homeland Security “may

 continue to detain the arrested alien” or “may release” the alien on bond. 8 U.S.C. §

 1226(a)(1).

       Accordingly, this Court finds that Petitioner’s detention pending the outcome

 of her removal proceedings in immigration court constitutionally permissible under

 8 U.S.C. § 1226(a) and does not violate her Fifth Amendment right to due process.

    B. Duration of Petitioner’s detention pending removal is reasonable.

       To the extent Petitioner is challenging the constitutionality of her detention

 pending the resolution of her removal proceedings, this Court has jurisdiction over

 her claims, pursuant to 28 U.S.C. §2241. See, e.g., Demore, 123 U.S. at 531 (2003)

 (concluding that federal district courts have habeas jurisdiction to review

 constitutional challenges to mandatory detention while removal proceedings are

 pending under § 1226(c)); Zadvydas, v. Davis, 533 U.S. 678, 693 (2001) (concluding

 that “§ 2241 habeas corpus proceedings remain available as a forum for statutory

 and constitutional challenges” to the duration of detention after a final order of

 removal has been entered). The Court in Demore distinguished between the valid

 detention there, and that at issue in Zadvydas, noting that in Zadvydas “removal was

 no longer practically attainable” and that “the period of detention at issue in




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 Zadvydas was ‘indefinite’ and ‘potentially permanent.’” Zadvydas, 121 U.S. at 527-

 28.

          Here, the Petitioner has been in custody for approximately twelve (12)

 months. The Court finds that this period is neither excessive nor of an indefinite

 nature. Petitioner will be subject to removal from the United States or will be granted

 asylum. There is no indication that her custody will last longer than the duration of

 her removal proceedings. A twelve-month period of pre-removal order detention in

 this case is reasonable.      Other courts have found longer periods were not

 unreasonable for detention during removal proceedings. See Barrera-Romero, 2016

 WL 7041710, at * 5 (twenty months’ detention); Kim v. Obama, 2010 WL 10862140

 (W.D. Tex. 2012) (one-and-a-half years detention); Garcia v. Lacy, 2013 WL

 3805730, *5 (S.D. Tex. 2013) (27 months' detention).

       C. Petitioner’s conditions of confinement claims should be dismissed.

          Finally, Petitioner seeks release based on her allegation that she is highly

 vulnerable to serious injury or death should she contract COVID-19 again.

          "Simply stated, habeas is not available to review questions unrelated to the

 cause of detention. Its sole function is to grant relief from unlawful imprisonment or

 custody, and it cannot be used properly for any other purpose. While it is correctly

 alluded to as the Great Writ, it cannot be utilized as . . . a springboard to adjudicate




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 matters foreign to the question of the legality of custody." Pierre v. United States,

 525 F.2d 933, 935-36 (5th Cir. 1976).

       "Allegations that challenge the fact or duration of confinement are properly

 brought in habeas petitions, while allegations that challenge rules, customs, and

 procedures affecting conditions of confinement are properly brought in civil rights

 actions." Schipke v. Van Buren, 239 F. App'x 85, 85-86 (5th Cir. 2007). "A § 2241

 habeas petition is the proper procedural vehicle for challenging an action that

 'directly implicates the duration of' a prisoner's confinement. Davis v. Fechtel, 150

 F.3d 486, 487, 490 (5th Cir. 1998). It is not, however, the proper procedural vehicle

 for claims . . . regarding the conditions of confinement." Boyle v. Wilson, 814 F.

 App'x 881, 882 (5th Cir. 2020).

       While Courts in this district, including this one, have previously handled

 Covid-19 relief claims in the context of § 2241, the Fifth Circuit recently spoke on

 this issue in the published decision of Rice v. Gonzalez, 2021 U.S. App. LEXIS 2879

 (5th Cir. Tex. February 2, 2021). The Court definitively stated that the fact that the

 petitioner “might more likely be exposed to COVID-19 during confinement, and that

 he may have certain common underlying health conditions, taken together do not

 impugn the underlying legal basis for the fact or duration of his confinement.” Id.




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 at *1. It found, therefore, that it was not authorized to grant the extension of federal

 habeas corpus law sought1.

        As Petitioner's conditions of confinement claim is unrelated to the cause of

 her detention, it should be dismissed2.

        Accordingly,

        IT IS RECOMMENDED the Petition for Writ of Habeas Corpus (rec. doc.

 1) is DENIED and DISMISSED WITHOUT PREJUDICE.

        IT IS FURTHER RECOMMENDED that Petitioner’s conditions of

 confinement claim be DISMISSED WITH PREJUDICE.

        IT IS FURTHER RECOMMENDED that all pending motions be DENIED

 as MOOT.

        Pursuant to 28 U.S.C. § 636(b)(1)(C) and Rule 72(b) of the Federal Rules of

 Civil Procedure, the parties have fourteen (14) days from receipt of this Report and

 Recommendation to file written objections with the Clerk of Court. Failure to file

 written objections to the proposed factual findings and/or the proposed legal

 1
   The Rice Court stated that “at least one other circuit court has held in a published opinion
 that Section 2241 provides jurisdiction and potential relief for federal prisoners to seek COVID-
 related release from custody. Wilson v. Williams, 961 F.3d 829, 837-39 (6th Cir. 2020). But this
 circuit's precedential, published case law is otherwise.” See Valentine v. Collier, 956 F.3d 797 (5th
 Cir. 2020) (Valentine I); Valentine v. Collier, 978 F.3d 154 (5th Cir. 2020) (Valentine II); Marlowe
 v. LeBlanc, 810 Fed. App'x 302 (5th Cir. 2020).

 2
  This Court notes that the unpublished, non-binding, decision of Cheek v. Warden of Fed. Med.
 Ctr., 2020 WL 6938364, at *1 (5th Cir. Nov. 24, 2020), does not alter its conclusion. See Acha v.
 Wolf, No. 20-1696, 2021 U.S. Dist. LEXIS 27602 (W.D. La. Jan. 27, 2021).

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 conclusions reflected in this Report and Recommendation within fourteen (14) days

 of receipt shall bar an aggrieved party from attacking either the factual findings or

 the legal conclusions accepted by the District Court, except upon grounds of plain

 error. See Douglass v. United Services Automobile Ass’n, 79 F.3d 1415, 1429–30

 (5th Cir. 1996).

       THUS DONE AND SIGNED in Chambers this 8th day of March, 2021.



                                       ____________________________________
                                                   CAROL B. WHITEHURST
                                      UNITED STATES MAGISTRATE JUDGE




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